               Case 2:95-cr-00006-JRH-BWC Document 229 Filed 06/15/11 Page 1 of 1

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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                                           BRUNSWICK DIVISION                             TIA 12: 55
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              UNITED STATES OF AMERICA                 )
                                                       )
                                                       )         CASE NO.: CR295-06
                            V.                         )
                                                       )
              RALPH JAMES MERCADO                      )



                                                  ORDER

                    After an independent and de novo review, the undersigned concurs with the

              Magistrate Judge's Reports and Recommendations, to which Objections have been

              filed. In his Objections, Defendant Ralph Mercado (Mercado") makes the same

              assertions as he did in the pleadings presently before the Court, as well as in

              previously-filed motions.

                     Mercado's Objections are without merit and are overruled. The Magistrate

              Judge's Reports and Recommendations are adopted as the opinion of the Court.

              Mercado's Motion (Doc. No. 210) and his petition (Doc. No. 213) are DISMISSED.

                     SO ORDERED, this         day of_/"\    TJ4J     , 2011.




                                                    LSAJGODBEY WOOD, CHIEF JUDGE
                                                    UI 1ED STATES DISTRICT COURT
                                                    SO'UTHERN DISTRICT OF GEORGIA




AO 72A
(Rev. 8/82)
